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                           UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


Samantha M. Markle,                              Case No. 8:22-cv-00511-CEH-TGW

                  Plaintiff,

         vs.
Meghan Markle,

                  Defendant.


       DEFENDANT MEGHAN, THE DUCHESS OF SUSSEX’S REQUEST
       FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS

         Defendant Meghan, The Duchess of Sussex has concurrently moved to dismiss

the Complaint under Federal Rule of Civil Procedure 12(b)(6). As set forth in the

Motion, Plaintiff has failed to allege facts sufficient to state a claim.

                                     BACKGROUND

         In connection with the Motion, The Duchess requests that the Court take

judicial notice of (a) one book (Finding Freedom, by Omid Scobie and Carolyn Durand);

(b) two New Mexico state court dockets involving Plaintiff; and (c) three facts (the

dates of The Duchess’s time on the television show Deal Or No Deal, the date of Prince

Harry’s announcement that the two were dating, and Plaintiff’s admissions on a

television interview with Good Morning Britain available on YouTube). The bases for

The Duchess’s requests are set forth below.




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         First, the Court may consider a document submitted with a motion to dismiss

if its “contents are alleged in a complaint and no party questions those contents …

provided it meets the centrality requirement.” Day v. Taylor, 400 F.3d 1272, 1276 (11th

Cir. 2005). Here, the book Finding Freedom is referenced so extensively by the

Complaint that it is properly considered as within the pleading. See, e.g., Hoffman-Pugh

v. Ramsey, 312 F.3d 1222, 1225 (11th Cir. 2002) (“The ‘publication’ at issue here is the

entire book, which was properly before the court on the motion to dismiss because

[plaintiff] referred to it in her complaint and it is central to her claims.”). A copy of

Finding Freedom is lodged herewith as Exhibit 1. 1

         Second, Rule 201(b) of the Federal Rules of Evidence provides that a court may

take judicial notice of any fact that is “not subject to reasonable dispute in that it is

either (1) generally known within the territorial jurisdiction of the trial court or (2)

capable of accurate and ready determination by resort to sources whose accuracy

cannot reasonably be questioned.” Fed. R. Evid. 201(b). In so doing, it does not

“convert[] a motion to dismiss into a motion for summary judgment.” Krauser v.

Evollution IP Holdings, Inc., 975 F. Supp. 2d 1247, 1251 (S.D. Fla. 2013).

                             MEMORANDUM OF LAW

         Relevant here, under Rule 201, courts may take judicial notice of “online state

court dockets” and “state court docket sheets.” Paez v. Sec'y, Fla. Dep't of Corr., 947 F.3d


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 Because the Local Rules do not provide a mechanism to submit a hard copy of the book
as an Exhibit, the Defendant Meghan, The Duchess of Sussex, respectfully requests leave
of Court to submit the hard copy of the book (Exhibit 1) by hand delivery.

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649, 652 (11th Cir. 2020). Accordingly, The Duchess requests that the Court take

judicial notice of:

         (1)      the state court docket from Scott Rasmussen v. Samantha M Rasmussen, No.

                  D-202-DM-200304974 (N.M. Dist. Ct. filed Dec. 2, 2003) (a true and

                  correct copy of which is attached hereto as Exhibit 2); and

         (2)      the state court docket from Samantha Rasmussen v. Winrock Partners LLC

                  et al, No. D-202-CV-201605774 (N.M. Dist. Ct. filed Sept. 20, 2016) (a

                  true and correct copy of which is attached hereto as Exhibit 3).

         Finally, The Duchess requests that the Court take notice of the following facts,

none of which are subject to reasonable dispute:

         (1)      Meghan Markle appeared on the game show Deal Or No Deal in 2006-

                  2007 (see Compl. ¶ 25.b), as reflected on her Internet Movie Database

                  (“IMDB”)                filmography,               online             at

                  https://www.imdb.com/name/nm1620783/#self. IMDB is an online

                  database for widely-disseminated information regarding film and

                  television programs, including credits, and therefore may be judicially

                  noticed. See Klein v. Leis, 2006 WL 1489686, at *1 (S.D. Ohio May 30,

                  2006), affd, 548 F.3d 425 (6th Cir. 2008) (taking judicial notice of the

                  name of a character appearing in the film Silence of the Lambs based on

                  information submitted to the court from IMDB); Heger v. Kiki Tree

                  Pictures, Inc., 2017 WL 5714517, at *4 (C.D. Cal. July 24, 2017) (taking



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                  judicial notice “of the facts that (a) Heger is not identified in the film

                  credits (starting at the 01:28:37 mark) and (b) Bill Richards is identified

                  as ‘aerial coordinator’ in the credits”).

         (2)      The media widely reported that Prince Harry was dating Meghan Markle

                  in November 2016, as reflected, for example, in the Reuters publication,

                  TEXT-Prince Harry’s statement on media “harassment” of new girlfriend,

                  located     at    https://www.reuters.com/article/britain-royals-harry-

                  statement/text-prince-harrys-statement-on-media-harassment-of-new-

                  girlfriend-idUSL8N1D93MU (describing “Meghan Markle” as his

                  “girlfriend”). 2 “[T]he massive and relentless flood of reports from dozens

                  of respected media outlets renders the facts noted in text ‘not subject to

                  reasonable dispute’ within the meaning of Federal Rule of Evidence

                  201(b). Pettway ex rel. Pettway v. Barnhart, 233 F. Supp. 2d 1354, 1360 n.13

                  (S.D. Ala. 2002); accord Shahar v. Bowers, 120 F.3d 211, 214 n.5 (11th Cir.

                  1997) (denying judicial notice request to accept a fact, rather than to just

                  note that the media had reported it).


2
  See also Steven Erlanger, Prince Harry Denounces Media Covreage of His Girlfriend, Meghan
Markle         (N.Y.        Times        Nov.         8,        2016),     online        at
https://www.nytimes.com/2016/11/09/world/europe/prince-harry-girlfriend-meghan-
markle.html; Karla Adam, Prince Harry condemns racist and sexist abuse of girlfriend Meghan
Markle         (Wash.        Post        Nov.         8,        2016),     online        at
https://www.washingtonpost.com/news/worldviews/wp/2016/11/08/in-rare-blast-at-
british-media-prince-harry-says-his-american-girlfriend-meghan-markle-faces-wave-of-
abuse/; Maria Puente, Does Prince Harry have a new ‘girlfriend’? (USA Today Nov. 2, 2016),
online at https://www.usatoday.com/story/life/entertainthis/2016/11/02/does-prince-
harry-have-new-girlfriend/93122438/.

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         (3)      Plaintiff has admitted to (1) being compensated for at least “five or six

                  live interviews” with tabloids since The Duchess began dating Prince

                  Harry in November 2016 and (2) not having seen The Duchess since her

                  college graduation, as reflected in Plaintiff’s television interview with

                  Good Morning Britain. See Samantha Markle Concerned About Her Father

                  Following His Heart Attack, YouTube (May 15, 2018), online at

                  https://www.youtube.com/watch?v=8iZgP1Oerig&ab_channel=Good

                  MorningBritain. The Court can take notice of a plaintiff’s “own

                  admissions” in material that is subject to judicial notice, see Nix., 2018

                  WL 8802885 at *6, including interviews whose authenticity is not

                  challenged, see, e.g., Perkins v. LinkedIn Corp., 53 F. Supp. 3d 1190, 1205

                  (Jun. 12, 2014) (taking judicial notice of two interviews with defendant’s

                  founder, where there was no dispute as to the “accuracy of the

                  quotations”); S.E.C. v. Goldstone, 952 F. Supp. 2d 1060, 1219 (D. N.M.

                  2013) (noticing—on a motion to dismiss—a CNBC video interview of

                  unchallenged authenticity).

                                       CONCLUSION

         Because every document or fact that is the subject of the instant Request for

Judicial Notice is either generally known within the jurisdiction or “capable of

accurate and ready determination by resort to sources whose accuracy cannot

reasonably be questioned” as required under Rule 201(b), The Duchess respectfully

requests that the Court grant her Request for Judicial Notice in its entirety.
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           WHEREFORE, Defendant Meghan, The Duchess of Sussex, respectfully

requests that this Honorable Court grant the instant Motion and take judicial notice of

the documents and information referenced above and for any other relief deemed just

and proper.

         RESPECTFULLY SUBMITTED this 13th day of May, 2022
                                      KINSELLA WEITZMAN ISER KUMP
                                      HOLLEY LLP



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                          CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing has been furnished to all parties

registered to receive service via CM/ECF this 13th day of May, 2022.



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